Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 1 of 24




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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 2 of 24


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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 3 of 24


        2.      Venueisproperpursuantto28U.S.C.j1391.
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        8. Detendants,Pentagonand0 1dobusinessin the State ofFloridm
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           Greenberg Traurig Law and lsrael Chernical/ M qsaic Phosphate or TTTF,M OSM C
           Com pany.

     21. Christopher Shaw,Esq.(lrtllsyorough Cotpty ex-public Defender - Attornoy who
           fabricated AlGI! emails timed the Ston:man Douglms Shooting shown in Appendix
           underoaX to hidetheResourcewithDefendantsatStonemO DouglasandMediato
           nllnnk Am ericaand thisW orld tmderground M edieineResoe      .

     22. DefendantSCOU ISRAET,(+ = 1*) was atallpertm
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           Stoneman Douglms SRF ftmding Sulwnittal,w ith a m assivc group ofm edia and Political

           f#lms hiding a criticalUS Reso= e while creating Fear= d Vaccin*eonsY IIILIES
           psing thc Sm ith-M updtAG M ndificationsof2012 and2013,and com prom ised the fixtnm
           careersand safety oftheyoungDRAM A UIISorstudentsatM arjoa Stoneman Douglas
           High school.

     23. DefendantSCOT PETERSON tiTetelson''lwasata11pertinenttimesaBmwld Counly
           deputy and wasspecifcany taskedw ithpm tecting lhoPlaintiœ ;even itmeantrisking his

           own life.Itwasandisaheroicjob and oneuponwhich peoplereply in thecaseofalife
           and deo elergency.He wasLqsked with thejob to proted the cbildren atthe school
           with the knowledgcthathewaspossibly theonly armed person in the imm ediate vicinity

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           aàd conscience-shocking actionsand innntionsdirœ tly and predictably caused childrc'n to
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           depkzty polido om cerin tio M arjory Stonem= DouglasHigh school,and atalltimes
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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 8 of 24


        24. SomeDefendantswerepresentatMarjory Stonem= Dougl% 111g,11schoolduring the
               shooting ,know of the timing of the US Resource to FDF,P lo M arjoric Stpneman
              Douglasand1heoFerattheSchoolBoardon M arch20,2018justattertheevent,by the
              Defeudant, of ONE M IT,
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              wounds with forènsics,help opon this secretresource O GIon yourshooting by FDEP
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               and Florida-u s Politiciànsand continued to hide the Resource w ith FDEP and Judges,

              IV Maohals,PpliceandMediw foryearsH owingTapwaterisbased op Cancerand
               Viruses-Disemse rates. SeeGilbertivsNikolasCruzvetal,thathasstarted Discovery
               show ing how tlw JudgeDim itrouleasi!now tmderFederal

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        Constitution's Fourteenth Amendment for the Defendants'individualand collective p= onal,
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        m alicioàs,and unlawfulviolationsundercolorofstate1aW ofPlainto 'individualand ùollective
        constitutional dghts to âee speech and protection against tmreasonable search of Plaintic s

        bodies as wellas stale tortclaims forcivilconspimey. See Gilbertivw Pentazon.etal.in
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        evidence and discovery and othezs via Gilbertiva CD C.et.al.and Gilbertivw Desantis.etal.

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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 9 of 24


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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 10 of 24


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      sustainabilie.
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      Plaintiff to be the W est Florida expertat Desoto County against this Entem rise and M osaic

      Plzospllate ppd Piaintig wasLapproved fpr said experttù protect millions of rlôridlan and
      Am ericansfw m thisEntem rise.

             32.    Defendantscomm iflM these unlawfulviolationsofPlaintiœ sconstitutionaland

      stiterightsundercolorofstate1aw inbadfaith andwithmaliciom purpbseinreckless,wanton,
      and willfuldisregard ofPlaine shum am safety,and ljm pèrty rights.

             33. A Judicimy without honesty bas Iittle cbO ce of exm uting its moml and
      constitutionalduties,no mnle hoF many rules of ethics exist This is espedatly true in
      Americw wherethejudiciaryisaFordedwidediscretiom Every decisionleA uptothediscretion
      ofajudg- isapotentialopportunity forcom zption- Today,oil,gas,m'inemls,drinking.water
      and naturàl resources and their entitlejnents are oqen decided by jùdges mzdng deùisions
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            34.    n e caye involves the Defendants in a m o sive Enterprise which consist of

     Judicialcotuts,Judges,State attom eys,public defenders,Police om cers,Utility ditectors,Fater
     and health agencies,hurd m oney loan sharks,locallaw-tirm s and developerswho have team ed
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     up againstTHE G GINEER to stealahidden undergrotmdresourcewhich mox vkluablethat


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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 12 of 24
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       PEOPLE;and keep cancerand diseasesrising in the re#on 9om W ater supply being keated
       from pollllfwlHversand corpomtedumpingatthoTaps.

             By this suitj Plaintif seeks fèderal distriot court review of the federal and Florida

       constitutionality ofD efendnnts'actionsforbqth on thoirface and asapplied,which:

              (i)    Deny a;limpartialtribupal;

              (ii)   ViolateUnjled StatcsCodc,Title4jj101and 102;
             (iii) ViolateFloridaStnolte9876.0541)
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             Having aanqidered the declaration m adc by the GenœalAssembly oftheUnited N ations

             ill its = oltltion 96 (9 dntozl 11 Dex'
                                                   - ber 1946 tbat genocide is a crime tmder
             interpstionallaw,contrary to the spiritand aimsoftheUniled Nationsand condemned by

             the civilia d w grldsRecognizing thatata1lperiods ofhistory genocide has intlicted great

             losseson humanity,and being convinced that,in orderto liberate m snkind from such an
             odioo scourgej inlernational co-operM on is m pxim.d, Hc by ag= as hexinac r

             provided:

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    Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 13 of 24                      '%
                     In the presentConventiow genocide means any ofthe following actqcom mitted with

                     intentto destroy,in wholeorin palt anational,ethnical,racialorrelibousvoup,as
                     such:

                     (a)Killingmdmbersoftheroup;
                     (b)Causingseriousbodilyormentalbarm tom- bersofthegroup;
                     (c)Delib- télyinnictingonthe> upkonditionéoflifecalculatedtobringabotztits

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                     physicaldestfuction ih Whole orin parq
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                     (d)Imposingmeasuresintendedtopreventbirtlu withinthegroup;
                     (e)FordblytG feningcllildronofthegrouptoanothergroup.
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                     'lhefolloFinpactsshdllbepunishable:

                     (a)Genboide;
                     (b)Conspiracytocommitgenocide;
                     (o)Dired andimblicincitemenltocommitgcnocide;
                     (d)Attemptù com'
                                    mitgenocide;
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                     (e)Complicitym
                                  ' genocidek.
                 35.      TI1E ENGINEER bringjtbis action againntDEFVNDANTS fora Violation of
          m co,18 U-s-c.j 1#61-x968,ezseq (a),(b),(c)and (d). 'I'11E ENGINEER seeksdamages
          faam DEFENDANTS Who are wnrking in a m assivo Enterm isc tied to water supply cugenics

          across Flpridw USA and the W orld with tlte W orld H ealth Orgnniyation in M OU aglvements
          witltthe G vironmental Protedion Agency, F1)F.13 in Tallallassee at the Florida M mjode
          Stonem an Douglas State Revolving Fundo2001-2010 Flodda êorevçrTrustFlmds,ESLAPP in

          sarmsop Floridk Globalcoop= tive Agreemontsof combinod Epvironmz- land Global
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    Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 14 of 24


             N ation:lDefense Resources of dBlue Go1d'.........orready to drink Alkalino Spring W aterfrom

             Earth notM anm ade.

                        36. The Dcfendants with other Nseketeering Entee ses are manipulating the
             Depsrtment of Education and Courtroom Judges,Police,Fire and Universi4y personal and
             systemsto subdue Appkllanttimed with civilcaqes,permitting,investmentpmposalsto hide
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                        38. W fendants are attacking a National Security resource and future Blue Gold
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             heavily treated with chem icalsvs.nam lendless alkaline spring water;causing higher Cancer '
             Ratesatthohome and btlsinesstaps,bottlingplantq,parks,schools,and m ore. W hile increwsing

             the possibilities of Vim sos like Zika and Com navinls,hiding answe to Vaccines, medicine

             solutions,ençrgy solutions,and new leciinoloe by hiding secxtxmderglotmd criticalUS
Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 15 of 24


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          Humanity. SeeTimelinoofEveqtkbelow :
    Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 17 of 24


                50.     Below isarough h dicatorofthetmbelibvable corruptip: thattook placei.
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          51.   This is an aètion for dnmngesxwhich exceed $15,000.00,exclm ive ofinterestacostsand
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                aitomey's fees for violation of the Civil Remedies fpr Criminal Pracùces Act

D               CCCFCPAD.
                The PlaintiF re allege the allegàtions contained in parv aphs 2 through 88,above,as
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                though the samew crefully setfor'th herein.
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          53.   bçfendants conépimd qr endeavored lo acquiTe and mainlain an in'-            in ithe real
                pToperty owned by thePlaintc
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                collection ofan unlawfuldebsand usage ofU S and State Tax base within a'
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                Transferofov/ 2000acresswitchedout.
          54* At a1lmax ialtimes,Deferldants were associated with an enterprisc,Fllich G m
                y                                  .



                approximatelyJanua/,2010 tbtoughthemesenthasflmchohedasacontinuingunitand
                has been engaged in an ongoing N d continuing course of conduct with the comm on

                purpose of objaibifc an owne/bip or other interest in the Plaintiœ land and m inem l
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                rights,and/or for the purposc of achieving or m aintaining a m onopoly powkr on its
                beneltslohideitanddestroyAmeriesnm
          55.   Tn furtberancé of sttch goals,the enterprisù engaged in a pnt-      of cnem inal aC/W T
                including, but not lim ited to, violations of Chapter 838, H orida Slnfxxtsxs,relating to

                bdbery and mistlse of public oo ce,and violations of j817.54,Florida Sfatutes,by
                obtainingfheM ortgage,NotoaizdotherLoanDocumenisandTitlebyfalsepmtenses.



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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 18 of 24


      56.      Defeàdants participated add/or conspired to participate in said entep rise through a

               p,,uernofcriminalactiviv and/ortheconection ofanunlawfuldebt.
      57.      A sa directresultofthe fom goin
                                             'g,theEngineerhpsstzlfered,and is continuing to suFer,
               dam ages.

                                  COUNT IX -28U.S.C.:3304tb)(1)fA)
                       Tm nsfer with IXA R:to Hinden m lav orDefm ud a Creditor

            58.ThePlaintif re-allegestheallegationscontained in paragrapbx2 through 93,above,aq
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               through thesam ewere fully setforth herein.

        .   59.D efendO tsH nsferred ownemhip 111terestsw ith actualintenttohinder,delay ordegaud

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               keep lrenlM waterpumping vsftltered spring waterwith lowerwàlerbillsand cancer

               rates.Also in an efforttohide the Globalm edicine and watersupply know ledgeto desert

               natiom likelsraelandtheV ddlcEastwhercW aterisnotavatlable,aswellaslyingto
               thçPubliconreasonsforlhelandpumhasea/Sarasolaparksdepartment
            60kWithres/ecttotheFraudulcntTransferonOctober5,2020viaSalusolacase2011CA
               04209NG thefollowingbadgesoffI'
                                             aUG amongothers,areapplicableandaretobe
               considered in determining actualintent:

                  a. thotransferwasto an insider:                                          .

                  b. 72 PartnersLLC,itsassignsofdzvdq,and SarasotaCounty reuined pèssession or
                     controlofproperty aftcritwastranRferred fmndulently.
                  c. N o corlsideration wasteceived by Plainte and hisoivilrightswere attacked and
                      hislifewasattackedtùins!zretieDefendàntscan hidetheRegipnalundœgroun;
                      riverofspringwatersupply.
                  d. ThetransferoccurredâholtlyafterPlaintiFwasillegallyagestedwithfalsepolice
                      reportsbyD efendants.

                                 COUNT X =FIa So t.: 726.105 fllfa)
                       Tm nsferwith Intentto Hinder.Delav orDefm ud a Creditor

        61.'
           lhePlaintiF re-allegesthe aRcgadonscontained in paragraphs2 through 96,above,as

               through thesam ewerefully sd forth herein.                  '

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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 19 of 24

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    Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 20 of 24


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             67.ThePlaintiffre-allegethe a'llegationscontained in param aphs2 through 102,
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             69.FedemlTortClaimsAct(August2.1946,ch-646,TitleIva60 Stat.812-28U.S.C.Part
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                          subduePlaintiffSaràsotalandalilk and civilriglztstim ed witllU S Térrotism acts

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                          regiona'lproject.
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                 W HEREFORE. the Plaintiff delnands judement against Defendants for damages,
          reasonable attonleys'fèesacostsoand such furthèrreliefasthe Coullméy.deem propen 'Plaintiff
          respectfully requests this Honopble Cout-tGRANIT this Complahzt,entèr a Judgm ent for fu11



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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 21 of 24


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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 22 of 24


               againstPlaintiff and Am ericanswith Terrodsm actshwolving al1Florida Politicians
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          K. Allow depositions to Desantis ahd a11 Judges w ith transcripts showing 72'Partners
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Case 9:24-cv-81427-DSL Document 1 Entered on FLSD Docket 11/15/2024 Page 23 of 24




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